            Case 2:11-cr-00353-MCE Document 50 Filed 03/29/12 Page 1 of 4


1    SCOTT N. CAMERON
     Attorney at Law
2    1007 7th Street, Suite 319
     Sacramento, California 95814
3    Telephone: (916) 442-5230
4    Attorney for:
     ANTHONY WILLIAMS
5
6
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )       CASE NO.    2:11-cr-00353-MCE
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )       STIPULATION AND ORDER CONTINUING
                                   )       STATUS CONFERENCE
13   SEAN McCLENDON, et. al.,      )
                                   )       DATE:     March 29, 2012
14                  Defendants.    )       TIME:     9:00 a.m.
     ______________________________)       COURT:    Hon. Morrison England, Jr.
15
16                                   Stipulation
17         The parties, through undersigned counsel, stipulate that the
18   status conference, scheduled for March 29, 2012, may be continued to
19   May 24, 2012, at 9:00 a.m.       Substantive negotiations are occurring
20   between the parties. Moreover, there are approximately 9,500 pages of
21   discovery in the case as well as recorded statements.         The additional
22   time is requested so that defense counsel can continue the review of
23   the discovery, continue investigation, research possible defenses, and
24   continue negotiations with the government.
25   ///
26   ///
27   ///
28   ///

                                           1
           Case 2:11-cr-00353-MCE Document 50 Filed 03/29/12 Page 2 of 4


1         Further, all of the undersigned parties hereby agree and
2    stipulate that time under the Speedy Trial Act should be excluded
3    under Title 18, United States Code Section 3161(h)(7)(A) and (B)(ii)
4    and (iv), corresponding to Local code T-2 (unusual and complex case)
5    and Local Code T-4 (to allow defense counsel time to prepare) from the
6    date of the parties’ stipulation, March 29, 2012, to and including
7    May 24, 2012.
8         The undersigned parties agree and stipulate that with the
9    voluminous discovery, the complex legal issues involved in the case
10   and the time needed by all defendants to review all of the discovery
11   produced by the government to date, it is unreasonable to expect
12   adequate preparation for pretrial proceedings and trial itself within
13   the time limits established in § 3161. In addition, the parties
14   stipulate and agree that the continuance requested herein is necessary
15   to provide defense counsel reasonable time to prepare their respective
16   clients' defenses taking into account due diligence and that the
17   interests of justice in granting this reasonable request for a
18   continuance outweighs the best interests of the public and defendants
19   for a speedy trial in this case, pursuant to Title 18, United States
20   Code, Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to
21   Local Code T-2 (unusual and complex case) and Local Code T-4 (to allow
22   defense counsel time to prepare).
23        The parties have authorized the defense counsel for Anthony
24   Williams to sign this stipulation on their behalf.
25   DATED: March 26, 2012                     BENJAMIN WAGNER
                                               United States Attorney
26
                                      by       /s/ Scott N. Cameron, for
27                                             Jean Hobler
                                               Assistant U.S. Attorney
28

                                           2
           Case 2:11-cr-00353-MCE Document 50 Filed 03/29/12 Page 3 of 4


1    DATED: March 26, 2012            by       /s/ Scott N. Cameron
                                               Scott N. Cameron
2                                              Counsel for ANTHONY WILLIAMS
3
     DATED: March 26, 2012            by       /s/ Scott N. Cameron, for
4                                              Preeti K. Bajwa
                                               Counsel for SEAN McCLENDON
5
     DATED: March 26, 2012            by       /s/ Scott N. Cameron, for
6                                              Douglas Beevers
                                               Counsel for Anthony Salcedo
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           3
            Case 2:11-cr-00353-MCE Document 50 Filed 03/29/12 Page 4 of 4


1                                          Order
2          The Court, having received, read, and considered the stipulation
3    of   the   parties,   and   good   cause       appearing   therefrom,   adopts the
4    stipulation of the parties in its entirety as its order. Based on the
5    stipulation of the parties and the recitation of facts contained
6    therein, the Court finds that this case is unusual and complex and
7    that it is unreasonable to expect adequate preparation for pretrial
8    proceedings and trial itself within the time limits established in 18
9    U.S.C. § 3161. In addition, the Court specifically finds that the
10   failure to grant a continuance in this case would deny defense counsel
11   reasonable time necessary for effective preparation, taking into
12   account the exercise of due diligence. The Court finds that the ends
13   of justice to be served by granting the requested continuance outweigh
14   the best interests of the public and the defendants in a speedy trial.
15         The Court orders that the time from the date of the parties'
16   stipulation, March 29, 2012, to and including May 24, 2012, shall be
17   excluded from computation of time within which the trial of this case
18   must be commenced under the Speedy Trial Act, pursuant to 18
19   U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T2
20   (unusual and complex case) and T4 (reasonable time for defense counsel
21   to prepare). It is further ordered that the March 29, 2012, status
22   conference shall be continued until May 24, 2012 at 9:00 a.m.
23         IT IS SO ORDERED.
24
     Dated: March 29, 2012
25
26                                         _____________________________
27                                         MORRISON C. ENGLAND, JR.
                                           UNITED STATES DISTRICT JUDGE
28

                                                4
